AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
   UNITED STATES OF AMERICA                                            )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Revocation of Probation or Supervised Release)
               V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                       )
   ERIC WILLIAM LAUGHTER                                               )   Case Number: DNCW106CR00165-011
                                                                       )   USM Number: 21777-058
                                                                       )
                                                                       )   Mary Ellen Coleman
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
☒ Admitted guilt to violation of conditions 1, 2 & 3 of the term of supervision.
☐ Was found in violation of condition(s) count(s) _______ after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation                                                                                                    Date Violation
Number           Nature of Violation                                                                          Concluded
     1           DRUG/ALCOHOL USE                                                                              4/02/2014

     2           DRUG/ALCOHOL USE                                                                              4/11/2014

     3           FAILURE TO COMPLY WITH MENTAL HEALTH TREATMENT                                                3/20/2014
                 REQUIREMENTS

       The Defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

☐      The Defendant has not violated condition(s) _____ and is discharged as such to such violation(s) condition.
☐      Violation(s) ________ (is)(are) dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                 Date of Imposition of Sentence: 5/22/2014




                                                                                 Date: May 27, 2014




                   Case 1:06-cr-00165-MR-WCM                           Document 660       Filed 05/27/14      Page 1 of 2
AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation



Defendant: Eric William Laughter                                                                         Judgment- Page 2 of 2
Case Number: DNCW106CR00165-011



                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
EIGHT (8) MONTHS.

☒ The Court makes the following recommendations to the Bureau of Prisons:
       -      Participation in any available substance abuse treatment program and, if eligible, receive benefits of
              18:3621(e)(2).
       -      Defendant shall support all dependents from prison earnings.
       -      Participation in any available mental health treatment programs.
       -      Participation in any available educational and vocational opportunities.

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At          am/pm on           .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on        .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                                  By:
                                                                                        Deputy Marshal




                   Case 1:06-cr-00165-MR-WCM                            Document 660    Filed 05/27/14   Page 2 of 2
